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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                               WESTERN DIVISION


UNITED STATES OF AMERICA,                             CR. 20-50095-JLV

                  Plaintiff,
                                                           ORDER
     vs.


CODY WAYNE HOPKINS,

                  Defendant.



      The court refuses plaintiffs and defendant's proposed jury instructions

except as to those instructions included in whole or in part in the court's


instructions.


      Dated August^ I 2022.

                               BY THE COURT:

                               ^LL
                                 /ST1
                                         ^^
                               UNIT&b/STlATES DlM^ICT JUDGE
